            Case 2:08-cr-00280-RAJ          Document 31       Filed 01/11/11     Page 1 of 2




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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                                       Plaintiff,   )    Case No. CR08-280-RAJ
                                                      )
10                          v.                        )    DETENTION ORDER
                                                      )
11 INPANH SISOUTHONE,                                 )
                                                      )
12                                    Defendant.      )

13 Offenses charged:

14       Conspiracy to Commit Bank Fraud,

15       Social Security Fraud, and

16       Aggravated Identity Theft.

17 Date of Detention Hearing: January 11, 2011.

18       The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

20 that no condition or combination of conditions which the defendant can meet will reasonably

21 assure the appearance of the defendant as required and the safety of any other person and the

22 community.

23



     DETENTION ORDER - 1
               Case 2:08-cr-00280-RAJ        Document 31        Filed 01/11/11      Page 2 of 2




 1             FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 2       Defendant has two active warrants for his arrest. The Court did not receive any information

 3 about defendant’s ties to the community, residence, employment, health or drug/alcohol use.

 4 Defendant also stipulated to detention.

 5       It is therefore ORDERED:

 6       (1)        Defendant shall be detained pending trial and committed to the custody of the

 7 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 8 from persons awaiting or serving sentences, or being held in custody pending appeal;

 9       (2)        Defendant shall be afforded reasonable opportunity for private consultation with

10 counsel;

11       (3)        On order of a court of the United States or on request of an attorney for the

12 Government, the person in charge of the correctional facility in which Defendant is confined

13 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

14 connection with a court proceeding; and

15       (4)        The clerk shall direct copies of this order to counsel for the United States, to

16 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

17 Officer.

18       DATED this 11th day of January, 2011.

19

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21
                                                           A
                                                           BRIAN A. TSUCHIDA
                                                           United States Magistrate Judge
22

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     DETENTION ORDER - 2
